Case 16-42573-elm7 Doc 134 Filed 10/07/19                 Entered 10/07/19 15:23:28   Page 1 of 4
 BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP                               BDFTE# 00000006821268
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 ADDISON, TX 75001
 (972) 386-5040

 Attorney for BANK OF AMERICA, N.A.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


 IN RE:                                               § CASE NO. 16-42573-ELM-7
                                                      §
 RAFAEL PULIDO, JR and                                §
 FELICIA MARIE PULIDO,                                §
     Debtor                                           § CHAPTER 7
                                                      §
 BANK OF AMERICA, N.A. ,                              §
    Movant                                            §
                                                      §
 v.                                                   §
                                                      §
 RAFAEL PULIDO, JR and                                §
 FELICIA MARIE PULIDO; and                            §
 JOHN DEE SPICER, Trustee                             §
     Respondents                                      §

                    NOTICE OF TERMINATION OF AUTOMATIC STAY
                         DUE TO FAILURE TO CURE DEFAULT

          1. On August 1, 2017 an Agreed Order Conditioning Automatic Stay was entered by

 the Court. The Debtor failed to comply with the terms of the Agreed Order. Movant has given

 any and all Notices required to be given by the Agreed Order.


          2. In accordance with the Default Paragraph of the Agreed Order, the automatic stay

 is terminated with respect to BANK OF AMERICA, N.A. on property described as:

      THE FOLLOWING DESCRIBED REAL PROPERTY SITUATE IN THE CITY OF
      MANSFIELD, COUNTY OF TARRANT, AND STATE OF TEXAS, TO WIT:

      LOT 9, BLOCK 1, OF HOLLAND ESTATES, AN ADDITION TO THE CITY OF
      MANSFIELD, TARRANT COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT
      THEREOF RECORDED IN CABINET A, SLIDE 6428, PLAT RECORDS, TARRANT
      COUNTY, TEXAS.


      BY FEE SIMPLE DEED FROM LEGCY/MONTEREY HOMES, L.P TO RAFAEL
 BK0046E-18/NOT3/Northern/FORT WORTH/00000006821268                                      Page 1 of 4
Case 16-42573-elm7 Doc 134 Filed 10/07/19               Entered 10/07/19 15:23:28   Page 2 of 4
 RAFAEL PULIDO, JR and FELICIA MARIE PULIDO, Debtors
 CASE NO. 16-42573-ELM-7


     PULIDO AND FELICIA M ROCHA, HUSBAND AND WIFE AS SET FORTH IN
     INSTRUMENT NO. D205060160, DATED 3/1/2005 AND RECORDED ON 3/3/2005,
     TARRANT COUNTY RECORDS.

     THE SOURCE DEED AS STATED ABOVE IS THE LAST RECORD OF VESTING
     FILED FOR THIS PROPERTY. THERE HAVE BEEN NO VESTING CHANGES
     SINCE THE DATE OF THE ABOVE REFERENCED SOURCE.

                                      Respectfully submitted,

                                      BARRETT DAFFIN FRAPPIER
                                      TURNER & ENGEL, LLP



                                      BY: /s/ PAUL KIM
                                          PAUL KIM
                                          TX NO. 24001182
                                          4004 Belt Line Rd Ste. 100
                                          ADDISON, TX 75001
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 BK0046E-18/NOT3/Northern/FORT WORTH/00000006821268                                    Page 2 of 4
Case 16-42573-elm7 Doc 134 Filed 10/07/19               Entered 10/07/19 15:23:28       Page 3 of 4
 RAFAEL PULIDO, JR and FELICIA MARIE PULIDO, Debtors
 CASE NO. 16-42573-ELM-7


                                    CERTIFICATE OF SERVICE

        I hereby certify that on October 07, 2019, a true and correct copy of the foregoing

Notice of Termination of Automatic Stay was served via electronic means as listed on the

Court's ECF noticing system or by regular first class mail to the parties listed on the attached

list.

                                      Respectfully submitted,

                                      BARRETT DAFFIN FRAPPIER
                                      TURNER & ENGEL, LLP


                                      BY: /s/ PAUL KIM                                   10/07/2019
                                          PAUL KIM
                                          TX NO. 24001182
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 BK0046E-18/NOT3/Northern/FORT WORTH/00000006821268                                         Page 3 of 4
Case 16-42573-elm7 Doc 134 Filed 10/07/19              Entered 10/07/19 15:23:28   Page 4 of 4
 RAFAEL PULIDO, JR and FELICIA MARIE PULIDO, Debtors
 CASE NO. 16-42573-ELM-7


 BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

 DEBTORS:
 RAFAEL PULIDO, JR
 4005 ALAMO DRIVE
 MANSFIELD, TX 76063

 FELICIA MARIE PULIDO
 4005 ALAMO DRIVE
 MANSFIELD, TX 76063

 DEBTOR'S ATTORNEY:
 CHRISTOPHER MARVIN LEE
 8701 BEDFORD EULESS ROAD
 SUITE 510
 HURST, TX 76053

 TRUSTEE:
 JOHN DEE SPICER
 900 JACKSON STREET SUITE 560
 FOUNDERS SQUARE
 DALLAS, TX 75202-4425




 BK0046E-18/NOT3/Northern/FORT WORTH/00000006821268                                   Page 4 of 4
